     Case 2:22-cv-01916-FWS-GJS      Document 135     Filed 06/02/25   Page 1 of 2 Page ID
                                          #:2775



 1
 2
 3
 4
 5
 6
 7
 8
                         UNITED STATES DISTRICT COURT
 9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                                 CASE NO. 2:22-CV-1916-FWS-GJS
11     ABDIRAHMAN ADEN KARIYE,
12     et al.,
                                                  PROPOSED ORDER GRANTING
13          Plaintiffs,                            DEFENDANTS’ APPLICATION
14                                                 FOR LEAVE TO FILE UNDER
       v.                                           SEAL RE OPPOSITION TO
15                                                MOTION TO COMPEL RE LAW
16     ALEJANDRO MAYORKAS,                         ENFORCEMENT PRIVILEGE
       Secretary of the U.S. Department of
17     Homeland Security, in his official
18     capacity, et al.,
19          Defendants.
20
21
22
            Pursuant to Federal Rule of Civil Procedure 26(c) and Civil Local Rule 79-5,
23
      Defendants filed an Application for Leave to File Under Seal re their Opposition to
24
      the Motion to Compel re Law Enforcement Privilege and filed declarations in
25
      support of sealing. The Court, having considered Defendants’ application, associated
26
      declarations, exhibit, any arguments of counsel, IT IS HEREBY ORDERED THAT:
27
     Case 2:22-cv-01916-FWS-GJS        Document 135      Filed 06/02/25   Page 2 of 2 Page ID
                                            #:2776



 1          1.     The Court finds that there is good cause sufficient to overcome the
 2    presumption in favor of granting public access to the document below.
 3          2.     Defendants’ Application for Leave to File Under Seal re their
 4    Opposition to the Motion to Compel re Law Enforcement Privilege is GRANTED,
 5    and the Clerk of the Court is to directed to accept for filing under seal the highlighted
 6    text in the document Bates-stamped KARIYE-CBP-00000088, attached as an
 7    exhibit to Defendants’ Opposition to the Motion to Compel re Law Enforcement
 8    Privilege.
 9    IT IS SO ORDERED.
10
11    DATED: June 2, 2025                      ____________________________________
12                                             HON. GAIL J. STANDISH
                                               UNITED STATES MAGISTRATE JUDGE
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
